David M. Stein
      Case 2:21-cv-04920-WLH-ADS
BROWN RUDNICK LLP
                                                            Document 15-1              Filed 06/17/21           Page 1 of 1 Page ID
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                                                    UNITED STATES DISTRICT COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                               CASE NUMBER
SERENA FLEITES and JANE DOE NOS. 1 through 33,
                                                                                                 2:21-cv-04920-CBM-AFM
                                                                Plaintiff(s)
                                       v.
                                                                                   (PROPOSED) ORDER ON APPLICATION
MINDGEEK S.A.R.L. et al.,
                                                                                  OF NON-RESIDENT ATTORNEY TO APPEAR
                                                            Defendant(s).             IN A SPECIFIC CASE PRO HAC VICE

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
D'Aquila, Danielle A.                              of BROWN RUDNICK LLP
Applicant’s Name (Last Name, First Name & Middle Initial)                         7 Times Square
212-209-4800                            212-209-4801                              New York, New York 10036
Telephone Number                         Fax Number
DD'Aquila@brownrudnick.com
                              E-Mail Address                                      Firm/Agency Name & Address

 for permission to appear and participate in this case on behalf of
Serena Fleites and Jane Doe Nos. 1 through 33



 Name(s) of Party(ies) Represented                                             Plaintiff(s)    Defendant(s)       Other:
 and designating as Local Counsel
Stein, David M.                                                                of BROWN RUDNICK LLP
 Designee’s Name (Last Name, First Name & Middle Initial)                         2211 Michelson Drive
      198256             949-440-0231         949-486-3686                        7th Floor
Designee’s Cal. Bar No.         Telephone Number           Fax Number
                                                                                  Irvine, CA 92612
dstein@brownrudnick.com
                      E-Mail Address                                              Firm/Agency Name & Address

 HEREBY ORDERS THAT the Application be:
      GRANTED.
      DENIED:  for failure to pay the required fee.
                           for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                           for failure to complete Application:
                           pursuant to L.R. 83-2.1.3.2:       Applicant resides in California;     previous Applications listed indicate Applicant
                           is regularly employed or engaged in business, professional, or other similar activities in California.
                           pursuant to L.R. 83-2.1.3.4; Local Counsel:      is not member of Bar of this Court;  does not maintain office in District.
                           because

 IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                              be refunded      not be refunded.

 Dated
                                                                                       U.S. District Judge/U.S. Magistrate Judge
G–64 ORDER (5/16)         (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE             Page 1 of 1
